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 1                                     ATTACHMENT A
 2                Property to Be Searched and Subscriber/Subject Information
 3          Records and information associated with the cellular telephone assigned call
 4 number 253-670-
 5 Moedano, (the Target Telephone 1                  ), that are in the custody of AT&T
 6 Wireless, a wireless telephone service provider headquartered at 208 South Akard Street
 7 Dallas, Texas, 75202. The user of TT1 is Gregory ESPINOSA.
 8          Records and information associated with the cellular telephone assigned call
 9 number 253-670-                                           d billing party Celia J. Moedano,
10 (the Target Telephone 2                ), that are in the custody of AT&T Wireless, a
11 wireless telephone service provider headquartered at 208 South Akard Street Dallas,
12 Texas, 75202. The user of TT2 is Cesar GASTELUM.
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28
     Attachment B - Phone - 1                                           UNITED STATES ATTORNEY
                                                                       700 STEWART STREET, SUITE 5220
     USAO #2021R00446
                                                                         SEATTLE, WASHINGTON 98101
                                                                               (206) 553-7970
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 1                                            ATTACHMENT B
 2                                      Particular Things to Be Seized
 3          This warrant is issued pursuant to Rule 41 of the Federal Rules of Criminal
 4 Procedure, the Electronic Communications Privacy Act (ECPA), 18 U.S.C. §§ 2701-
 5 2713, and the Pen Register Act, 18 U.S.C. §§ 3121-3127. As such, this warrant
 6 authorizes the collection of subscriber records, pen-trap data, and cell site data
 7 information regarding TT1 and TT2. This warrant does not authorize the disclosure or
 8 seizure of any tangible property or the content of any wire or electronic communication,
 9 as defined in 18 U.S.C. § 2510(8). Accordingly, the Court finds reasonable necessity for
10 the seizure of the data and records identified below. See 18 U.S.C. § 3103a(b)(2).
11 I.       Section I: Information to be Disclosed by AT&T:
12                  Subscriber/Account Information. The following non-content information
13 about the customers or subscribers associated with the Account listed in Attachment A:
14                  a.          Names (including subscriber names, user names, and screen names);
15                  b.          Addresses (including mailing addresses, residential addresses,
16 business addresses, and e-mail addresses);
17                  c.          Local and long distance telephone connection records for the last 60
18 days or two billing cycles, whichever is longer;
19                  d.          Records of session times and durations, and the temporarily assigned
20 netw
21 sessions for the past 60 days or two billing cycles, whichever is longer;
22                  e.          Length of service (including start date) and types of service utilized;
23                  f.          Telephone or instrument numbers (including MAC addresses,
24
25
26                                                                                   rvices Digital
27
28
     Attachment B - Phone - 2                                                    UNITED STATES ATTORNEY
                                                                                700 STEWART STREET, SUITE 5220
     USAO #2021R00446
                                                                                  SEATTLE, WASHINGTON 98101
                                                                                        (206) 553-7970
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 1                   g.          Other subscriber numbers or identities (including the registration
 2                                      ress); and
 3                   h.          Means and source of payment for such service (including any credit
 4 card or bank account number) and billing records.
 5                   Prospective Cell Site Location Information.
 6                   a.          All information about the location of TT1 and TT2 described in
 7 Attachment A for a period of 45 days from activation, during all times of day and night.
 8 This information includes: precise location information, as well as all data about which
 9
10 faces of the towers) received a radio signal from the cellular telephone(s) or account(s)
11 described in Attachment A.
12
                     b.          The physical address and coverage maps of cell towers used by TT1
13
     and TT2.
14
                     Prospective E-911/GPS and Cell Site Triangulation Information.
15
                     a.          All information about the location of TT1 and TT2 described in
16
     Attachment A for a period of 45 days, during all times of day and night. This
17
     information includes: all available E-911 Phase II data, GPS data, latitude-longitude data,
18
19
20
     towers) received a radio signal from the cellular telephone(s) or account(s) described in
21
     Attachment A.
22
23                   b.          The physical address and coverage maps of cell towers used by the

24 Target Cell Phone.
25           To the extent that the location information described in the previous paragraphs
26                                                                    sion, custody, or control AT&T,
27 AT&T is required to disclose the Location Information to the government pursuant to this
28 warrant. In addition, pursuant to 18 U.S.C. §§ 3123(b)(2) and 3124(a)-(b), AT&T must
      Attachment B - Phone - 3                                                   UNITED STATES ATTORNEY
                                                                                700 STEWART STREET, SUITE 5220
      USAO #2021R00446
                                                                                  SEATTLE, WASHINGTON 98101
                                                                                        (206) 553-7970
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1 furnish the government all information, facilities, and technical assistance necessary to
2 accomplish the collection of the Location Information unobtrusively and with a minimum
3 of interference with               services. The government shall compensate AT&T for
4 reasonable expenses incurred in furnishing such facilities or assistance.
5
6
     II.     Section II: Information to Be Seized by the Government
7
                     All information described above in Section I that will assist in investigating
8
     ESPINOSA, GASTELUM, or unidentified subjects who are engaged in violating 21
9
     U.S.C. §§ 841(a)(1), and 846.
10
                     All non-content subscriber/account information provided pursuant to 18
11
     U.S.C. § 2703(c).
12
                     Location Information regarding TT1 and TT2.
13
             Law enforcement personnel (who may include, in addition to law enforcement
14
     officers and agents, attorneys for the government, attorney support staff, agency
15
     personnel assisting the government in this investigation, and outside technical experts
16
     under government control) are authorized to review the records produced by AT&T in
17
     order to locate the things particularly described in this Warrant.
18
19
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27
28
      Attachment B - Phone - 4                                               UNITED STATES ATTORNEY
                                                                            700 STEWART STREET, SUITE 5220
      USAO #2021R00446
                                                                              SEATTLE, WASHINGTON 98101
                                                                                    (206) 553-7970
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 1                            AFFIDAVIT OF ABIGAIL SAWYER
 2 STATE OF WASHINGTON                  )
 3                                      )       ss
 4 COUNTY OF KING                       )
 5
 6          I, ABIGAIL SAWYER, being first duly sworn, hereby depose and state as
 7 follows:
 8                              PURPOSE OF THIS AFFIDAVIT
 9                 I make this Affidavit in support of three warrants pursuant to Federal Rule
10 of Criminal Procedure 41 and 18 U.S.C. §§ 2703(c)(1)(A) for information about the
11 location of the following cellular telephones:
12                 a.     Target Telephone 1 (TT1), with number 253-670-4730 (hereinafter
    TT1
13
   headquartered at 208 South Akard Street Dallas, Texas, 75202. The listed user of the
14 phone is Gregory Espinosa and user address is 12902 SE 312th St Apt E304 Auburn, WA
   98092. The listed billing party is Celia J. Moedano and billing address 12902 SE312th St
15
   Apt E304 Auburn, WA 98092. The user of the phone is Gregory ESPINOSA. TT1 is
16 described herein and in Attachment A, and the location information to be seized is
   described herein and in Attachment B.
17
18                  b.     Target Telephone 2 (TT2), with number 253-670-1940
     (hereinafter TT2
19   service provider headquartered at 208 South Akard Street Dallas, Texas, 75202. The
20   listed user and billing party is Celia J. Moedano. The listed billing address is 12902 SE
     312th St Apt E304 Auburn, WA 98092. The user of the phone is Cesar GASTELUM
21   Vega. TT2 is described herein and in Attachment A, and the location information to be
22   seized is described herein and in Attachment B.
23                 Based on the facts set forth in this Affidavit, I submit that there is probable
24 cause that                                    )
25 are currently engaged in drug trafficking, in violation of 21 U.S.C. §§ 841(a)(1) and 846,
26 and that ESPINOSA is currently using TT1, and GASTELUM is currently using TT2
27
28
      AFFIDAVIT OF SA SAWYER - 1                                            UNITED STATES ATTORNEY
                                                                           700 STEWART STREET, SUITE 5220
      USAO 2021R00038
                                                                             SEATTLE, WASHINGTON 98101
                                                                                   (206) 553-7970
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 1 during the commission of, and in furtherance of, these offenses. Obtaining location and
 2 other information for these instrumentalities will further this investigation.
 3                 This is the first federal application for a tracking warrant and pen register
 4 for TT1 and TT2 in this judicial district in connection with this investigation.
 5                                              ECPA
 6                 The Court has jurisdiction to issue the proposed warrant for TT1 and TT2
 7 under the Electronic Communications Privacy Act (ECPA), 18 U.S.C. §§ 2701-2713,
 8
 9 Specifically, the Court is a district court of the United States that has jurisdiction over the
10 offense being investigated, see 18 U.S.C. § 2711(3)(A)(i).
11                                    PEN REGISTER ACT
12                 Because this warrant seeks the prospective collection of information that
13
14                           see 18 U.S.C. § 3127(3) & (4), the requested warrant is designed
15 to comply with the Pen Register Act, 18 U.S.C. §§ 3121-3127.
16                 The Court has jurisdiction to issue the requested pen-trap order because it is
17
18                                                    jurisdiction over the offense being
19                under 18 U.S.C. § 3127(2)(A)(i).
20                 This application includes all the information required by the Pen Register
21 Act. See 18 U.S.C. §§ 3122(b) & 3123(a)(1). Namely, Exhibit 1 to this application is a
22 certification from Assistant United States Attorney Vincent T. Lombardi that
23 (1) identifies HSI as the law enforcement agency conducting the investigation and
24 (2) certifies the information likely to be obtained is relevant to an ongoing criminal
25 investigation being conducted by that agency. 18 U.S.C. § 3122(b). The Assistant
26
27 the Federal Rules of Criminal Procedure.
28
     AFFIDAVIT OF SA SAWYER - 2                                            UNITED STATES ATTORNEY
                                                                          700 STEWART STREET, SUITE 5220
     USAO 2021R00038
                                                                            SEATTLE, WASHINGTON 98101
                                                                                  (206) 553-7970
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 1                                                                                codes dialing,
 2 routing, addressing, or signaling information transmitted by an instrument or facility from
 3
 4                                                                incoming electronic or other
 5 impulses which identify the originating number or other dialing, routing, addressing, and
 6 signaling information reasonably likely to identify the source of a wire or electronic
 7
 8                In the traditional telephone context, pen registers captured the destination
 9 phone numbers of outgoing calls, while trap and trace devices captured the phone
10 numbers of incoming calls. Similar principles apply to other kinds of wire and electronic
11 communications such as emails, text messages, connection logs, and data transfers. The
12
13
14 the requested warrants will record, decode, and/or capture dialing, routing, addressing,
15 and signaling information associated with the Target Cell Phone without geographic
16 limit.
17                The United States further requests, pursuant to 18 U.S.C. §§ 3123(b)(2) and
18 3124(a)-(b), that the Court order through Attachment B of the requested warrants that
19 AT&T and any other person or entity providing wire or electronic communication service
20 in the United States whose assistance may facilitate execution of this warrant furnish,
21 upon service of the warrant, information, facilities, and technical assistance necessary to
22 install the pen/trap, including installation and operation of the pen-trap unobtrusively and
23 with minimum disruption of normal service. Any entity providing such assistance shall
24 be reasonably compensated by the HSI, pursuant to 18 U.S.C. § 3124(c), for reasonable
25 expenses incurred in providing facilities and assistance in furtherance of the warrants.
26                Through this application, the United States does not request and does
27 not seek to obtain the contents of any communications, as defined in 18 U.S.C.
28 § 2510(8).
     AFFIDAVIT OF SA SAWYER - 3                                           UNITED STATES ATTORNEY
                                                                         700 STEWART STREET, SUITE 5220
     USAO 2021R00038
                                                                           SEATTLE, WASHINGTON 98101
                                                                                 (206) 553-7970
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 1                                  AGENT BACKGROUND
 2                I am a Special Agent (SA) with Homeland Security Investigations            HSI
 3 within the United States Department of Homeland Security (DHS). As a Special Agent, I
 4 investigate violations of the Controlled Substance Act, Title 21, United States Code,
 5 Section 801, et seq., and other violations of federal law. I have been a Special Agent
 6 with HSI since June 2019. I was trained to conduct investigations relating to violations
 7 of federal law including the manufacturing and trafficking of controlled substances and
 8 money laundering through the Criminal Investigator Training Program and the Homeland
 9 Security Investigations Special Agent Training Program at the Federal Law Enforcement
10 Training Center in Glynco, Georgia. Prior to my employment with HSI, I was a Criminal
11
12 where I conducted long-term investigations involving fraud, organized crime, and
13 narcotics. I am a graduate of the Nassau County Police Academy and became a certified
14 Police Officer in New York State for my position with DANY.
15                As a federal law enforcement officer and through my employment as a law
16 enforcement officer at the state level, I have received formal training, as well as extensive
17 on-the-job training, in the investigation of narcotics trafficking. I have conducted and
18 participated in investigations involving controlled substances, money laundering, and
19 other criminal activity, including those leading to arrest and prosecution. As a result of
20 these investigations, I have become familiar with methods and techniques used by
21 narcotics manufacturers and distributors, persons in possession of narcotics for purposes
22 of sales and transportation, and persons conspiring to transport and sell narcotics. I am
23 also familiar with the methods employed by narcotics traffickers to conceal their
24 trafficking activity and the origin of proceeds generated by this activity. I am aware that
25 traffickers use slang and coded words, multiple cell phones, concealed compartments,
26
27 by hiding and transporting bulk cash, sending funds through wire transfers or bank
28
     AFFIDAVIT OF SA SAWYER - 4                                          UNITED STATES ATTORNEY
                                                                        700 STEWART STREET, SUITE 5220
     USAO 2021R00038
                                                                          SEATTLE, WASHINGTON 98101
                                                                                (206) 553-7970
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 1                 I have participated in the investigation described herein since
 2 approximately December of 2020. I have obtained the facts set forth in this Affidavit
 3 through personal participation in the investigation described herein, from the review of
 4 records, documents, and other evidence obtained during this investigation, from
 5 surveillance operations, and from my conversations with other law enforcement officers
 6 familiar with the targets of this investigation.
 7                 The facts set forth in this Affidavit are based on my own personal
 8 knowledge; information obtained from other individuals during my participation in this
 9 investigation, including other law enforcement officers; review of documents and records
10 related to this investigation; communications with others who have personal knowledge
11 of the events and circumstances described herein; and information gained through my
12 training and experience. The facts below do not include everything known to me about
13 this investigation. I have only included sufficient facts necessary to establish probable
14 cause that ESPINOSA and GASTELUM are committing violations of violations of Title
15 21, United States Code §§ 841(a)(1) and 846 using TT1 and TT2,
16 respectively. Significant additional details have been omitted for the sake of brevity.
17                 Where I have included statements of others, they are set forth in substance
18 and in part, and are not direct quotations.
19                 Based on the facts set forth in this Affidavit, there is probable cause to
20 believe that violations of Title 21, United States Code §§ 841(a)(1) and 846 have been
21 committed, are being committed, and will be committed by ESPINOSA and
22 GASTELUM and that ESPINOSA is using TT1 and GASTELUM is using TT2 to
23 facilitate their drug trafficking activities. There is also probable cause to believe that the
24 location information described in this Affidavit and in Attachment B will constitute
25 evidence of these criminal violations and will lead to the identification of other
26 individuals who are engaged in the commission of these offenses.
27
28
     AFFIDAVIT OF SA SAWYER - 5                                             UNITED STATES ATTORNEY
                                                                           700 STEWART STREET, SUITE 5220
     USAO 2021R00038
                                                                             SEATTLE, WASHINGTON 98101
                                                                                   (206) 553-7970
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 1                                    SUMMARY OF PROBABLE CAUSE
 2 Background of Investigation: Las Vegas DTO
 3                      In or about January 2021, I identified two phone numbers I believed
 4 belonged to ESPINOSA based on toll analysis and subscriber information: 206-618-1751
 5 and 253-487-9587. During this time, I learned that these phone numbers were connected
 6 to a drug trafficking organization (DTO) trafficking cocaine to and from the Las Vegas,
 7 NV area that is being investigated by agents with the Drug Enforcement Administration
 8 (DEA) Las Vegas office.
 9                      I spoke to DEA Special Agent (SA) Daniel Weber who told me that one of
10 the main subjects of their investigation had communicated with one of
11 numbers, 206-618-1751, approximately 32 times in late October and early November of
12 2020. A second telephone number belonging to ESPINOSA, 253-487-9587, had direct
13 contact with an individual in Mexico who DEA agents believed was directing the
14 narcotics trafficking activities of the Las Vegas DTO. I analyzed call detail information
15 and noted that both ESPINOSA numbers spoke to several individuals that had been
16 identified as members of the Las Vegas DTO by DEA Las Vegas. Further, I reviewed
17 financial records that revealed that ESPINOSA and several of the Las Vegas DTO
18 members conducted financial transactions with two business accounts that were flagged
19 by other federal investigations as possible shell companies used to facilitate the
20 laundering of drug proceeds.
21                      In February 2021, Customs and Border Protection (CBP) officers arrested
22 an individual linked to the Las Vegas DTO for transporting approximately 5.36
23 kilograms of cocaine in the dashboard of a vehicle through the San Ysidro Port of Entry
24 (POE).1 Later that month, DEA Las Vegas arrested several DTO members, several of
25 whom were in contact with ESPINOSA per phone toll analysis. I reviewed airline
26
27
28   1
         The individuals arrested by CBP and DEA Las Vegas will not be named here as their cases are ongoing.
         AFFIDAVIT OF SA SAWYER - 6                                                         UNITED STATES ATTORNEY
                                                                                           700 STEWART STREET, SUITE 5220
         USAO 2021R00038
                                                                                             SEATTLE, WASHINGTON 98101
                                                                                                   (206) 553-7970
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 1 records and determined that ESPINOSA purchased flights for some of the Las Vegas
 2 DTO members that were ultimately arrested for narcotics trafficking.
 3 Pen Registers Authorized for ESPINOSA Numbers.
 4                                                                              d links to the
 5 Las Vegas DTO, I applied for pen registers for the two numbers I believed to be used by
 6 ESPINOSA: 206-618-1751 and 253-487-9587. On February 22, 2021, United States
 7 Magistrate Judge Paula L. McCandlis authorized pen registers for both numbers through
 8 AT&T and through WhatsApp under Western District of Washington Case No. PT21-
 9 061. I observed that both phone numbers received few incoming calls and made no
10 outgoing calls. This likely indicates that ESPINOSA dropped both phones, meaning
11 that he stopped using these numbers. Based on my training and experience, drug
12 traffickers consistently abandon and switch phones that they use to conduct drug
13 trafficking activities in order to avoid detection by law enforcement. I believe that
14 ESPINOSA had at least two phones and stopped using both numbers around the time the
15 pen registers were authorized. This is not consistent with normal cellphone users, who
16 generally have one phone and maintain the same phone number, even when changing
17 devices.
18                I believe ESPINOSA is now using phone number 253-670-4730 (Target
19 Telephone 1        TT1 ). Per AT&T records, this phone
20 ESPINOSA, and the billing part is Celia MOEDANO. Toll analysis, financial records,
21 flight reservation records, and surveillance operations indicate TT1 is used by
22 ESPINOSA, as will be discussed below.
23 Oklahoma City DTO.
24                In September of 2022 I spoke to Federal Bureau of Investigation (FBI)
25                                                                    Oklahoma City office.
26 Per IA Bernardo, FBI agents in Oklahoma City searched a stash house in September
27
28
     AFFIDAVIT OF SA SAWYER - 7                                         UNITED STATES ATTORNEY
                                                                       700 STEWART STREET, SUITE 5220
     USAO 2021R00038
                                                                         SEATTLE, WASHINGTON 98101
                                                                               (206) 553-7970
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 1 2022.2 Per IA Bernardo, FBI agents believed that this Oklahoma City target may have
 2 been facilitating the construction of methamphetamine conversion laboratories based on
 3 their investigative findings. Specifically, during the search of the Oklahoma City stash
 4 house, agents found a large number of wire receipts in the residence, in addition to
 5 materials they believed were evidence of a methamphetamine conversion laboratory.3
 6 Per IA Bernardo, agents found wire receipts in the Oklahoma City stash house that they
 7 believed represented transfers made by fictitious names. The wire receipts were
 8 associated with a variety of phone numbers.
 9                    The analyst reported that one of these phone numbers, believed to be used
10 by the Oklahoma City target, had numerous communications with phone number TT1
11 per cellphone records. I believe TT1 is used by ESPINOSA, as will be discussed below.
12 Per the analyst, ESPINOSA and the Oklahoma City target were in contact in May 2022, a
13 time period in which the Oklahoma City target was operating in the Oklahoma area. In
14 May 2022, ESPINOSA wired money from Oklahoma City to Mexico, as will be
15 discussed below.
16                                                                                                      .
17
18 learned that ESPINOSA conducted several financial transactions in the Oklahoma City
19 area. For example, on May 15, 2022, ESPINOSA sent three wires (in the amounts of
20 $807.00, $555.00, and $758.00) from Oklahoma City, OK to three different recipients in
21 Nayarit, Mexico. Also on June 9, 2022, ESPINOSA sent a wire for $1247.00 from
22
23                         four of these transactions. I believe despite the altered spelling of the
24
25
     2
       The stash house had been abandoned by an individual who has been identified by FBI Oklahoma City but will not
26   be named here as he/she is the target of an ongoing investigation.
     3
       Methamphetamine conversion laboratories are generally home-made illicit laboratories in which liquid
27   methamphetamine often originating in Mexico is converted into solid form after it has been transported to the US.
     Large DTOs use this method to traffic methamphetamine because liquid methamphetamine is easier to transport and
28   conceal from law enforcement.
         AFFIDAVIT OF SA SAWYER - 8                                                       UNITED STATES ATTORNEY
                                                                                         700 STEWART STREET, SUITE 5220
         USAO 2021R00038
                                                                                           SEATTLE, WASHINGTON 98101
                                                                                                 (206) 553-7970
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 1
 2 wires. Per the financial records, on one of the transactions on May 15, 2022, and the
 3
 4
 5                 I know, based on my training and experience, that drug traffickers will
 6 often send proceeds of their illicit drug sales back to Mexico in smaller amounts via wire.
 7 Traffickers often structure or break up the wires into smaller amounts in an attempt to
 8 avoid alerting law enforcement, as larger transfers are sometimes more likely to attract
 9 attention.
10                 In September 2022, I queried ESPINOSA through Washington Department
11 of Licensing (DOL) records and learned that a 2010 purple Ford Edge bearing
12                                                                              16127 SE 256th
13                                Covington address. I queried this license plate through a
14 database of License Plate Reader (LPR)
15 vehicle appeared to travel frequently between California and Oklahoma between April of
16 2022 and July of 2022. DHS border crossing records indicate that ESPINOSA frequently
17 crossed the US/Mexico border via the San Ysidro POE in southern California during this
18 time period. Airline records indicate that ESPINOSA also flew from San Diego, CA to
19 Seattle, WA several times, often booking flights last minute, and staying in Seattle for
20 about 48 hours during each trip between April and July of 2022.
21                 In sum, these data indicate that ESPINOSA made frequent short trips
22 between California and Oklahoma, and California and Washington, and traveled to
23 Mexico between these trips. This travel pattern is consistent with how money and
24 narcotics couriers typically operate; couriers bring narcotics or money from one
25 destination to another, and travel as efficiently as possible in order to limit the time that
26 they are exposed to law enforcement or members of rival DTOs. These frequent trips are
27 not consistent with the travel patterns of typical tourists or businesspeople who typically
28 spend at least several days at their final destination before returning home.
     AFFIDAVIT OF SA SAWYER - 9                                            UNITED STATES ATTORNEY
                                                                          700 STEWART STREET, SUITE 5220
     USAO 2021R00038
                                                                            SEATTLE, WASHINGTON 98101
                                                                                  (206) 553-7970
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 1                    In October 2022, I reviewed DHS records, LPR data, and CBP data and
 2 observed that ESPINOSA made frequent trips that appear to be consistent with courier
 3 activi
 4                    On April 29, 2022, ESPINOSA crossed into the US from Mexico via the
 5 San Ysidro POE in the purple Edge. LPR records show that on April 30, 2022, the
 6 license plate of the purple Edge was captured as the vehicle traveled eastbound near
 7 Albuquerque, NM. On May 1, 2022, LPR records show the same vehicle continuing
 8 eastbound along Interstate 40 east of Amarillo, TX, just several hours away from
 9 Oklahoma City, OK. ESPINOSA entered the US through the San Ysidro POE on May 4,
10 2022, indicating that between May 1, 2022 and this entry, ESPINOSA left the US.4 This
11 means that that ESPINOSA likely traveled from Mexico into California, drove to
12 Oklahoma City and traveled back to Mexico and crossed back into the US, again at the
13 California border, in the span of several days.
14                    On May 4, 2022, ESPINOSA crossed into the US from Mexico at the San
15 Ysidro POE in a black Ford
16 This vehicle is the same make and model as the other vehicle ESPINOSA traveled in (the
17                      . Later in July of 2022, ESPINOSA registered this vehicle in his name at
18 an address in Lynwood, CA under California license plate 9CDH033. Based on my
19 training and experience, I know it is common for couriers to drive vehicles that are of the
20 same make and model once they have identified the natural voids in the vehicle or have
21 determined the best smuggling methods for that type of vehicle. I also know that once
22 DTOs have successfully smuggled drugs or money in a certain type of vehicle, DTOs
23 will continue to use that type of vehicle.
24
25
26   4
       DHS systems capture travelers and vehicles entering the United States, but often do not capture vehicles leaving
     the US. For this reason, in many cases DHS databases do not have the exact date and time that ESPINOSA left the
27   US and crossed into Mexico. I can extrapolate
     some time before.
28
         AFFIDAVIT OF SA SAWYER - 10                                                        UNITED STATES ATTORNEY
                                                                                           700 STEWART STREET, SUITE 5220
         USAO 2021R00038
                                                                                             SEATTLE, WASHINGTON 98101
                                                                                                   (206) 553-7970
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 1                On May 13, 2022, ESPINOSA crossed into the US from Mexico at the San
 2 Ysidro POE in the purple Edge. Later that day, LPR data indicate that the plate of the
 3 purple Edge was captured as it travelled eastbound on I-40 near Albuquerque, NM.
 4 Phone toll analysis indicates that ESPINOSA used TT1 to communicate with a phone
 5 number associated with the Oklahoma City target between May 14, 2022 and May 15,
 6 2022. These numbers did not communicate outside of this time range. These data
 7 indicate to me that ESPINOSA was likely in Oklahoma City to meet with the Oklahoma
 8 Ci                                                     . On May 15, 2022, ESPINOSA
 9 sent three wire transfers from a location in Oklahoma City to three recipients in Mexico
10 as is discussed above. The Oklahoma City target also sent wire receipts from a variety of
11 fictious names, as is discussed above. Again, based on my experience investigating drug
12 traffickers and cartel drug traffickers specifically, I know that it is common for couriers
13 to send a portion of drug proceeds to cartel members immediately. This reduces the
14 likelihood that the currency will be intercepted by law enforcement or rival DTOs.
15                Later on May 15, 2022, LPR data show that the purple Edge drove
16 eastbound on 1-40. Taken together these records indicate ESPINOSA made several short
17 trips from California to Oklahoma City and back, and then drove south into Mexico
18 before returning to the United States to repeat this pattern. These trips are during the
19 time period that ESPINOSA was in contact with the Oklahoma City target, and the
20 Oklahoma City target was thought to be facilitating narcotics production and distribution
21 in Oklahoma per the FBI analyst. I believe based on my training and experience that
22                                    consistent with courier activity. Companies selling or
23 transporting legitimate goods typically transport goods in bulk quantities for efficiency.
24 DTOs typically split up loads of narcotics or money to reduce the risk of seizures by law
25 enforcement, and because they use multiple couriers and therefore need to make multiple
26 trips, like those that ESPINOSA took to Oklahoma City.
27                On May 28, 2022, ESPINOSA crossed into the US from Mexico via the
28 pedestrian lane at the San Ysidro POE, then flew from San Diego to Seattle. ESPINOSA
     AFFIDAVIT OF SA SAWYER - 11                                          UNITED STATES ATTORNEY
                                                                         700 STEWART STREET, SUITE 5220
     USAO 2021R00038
                                                                           SEATTLE, WASHINGTON 98101
                                                                                 (206) 553-7970
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 1 flew back to San Diego on May 31, 2022, then crossed into the US from Mexico the
 2 following day, June 1, 2022. On June 3, 2022, LPR data show the purple Edge driving
 3 east on 1-40 near Amarillo, Texas. On June 4, 2022, ESPINOSA returned to the US from
 4 Mexico through the San Ysidro POE via a pedestrian lane.
 5                On the same date, ESPINOSA flew to Seattle from San Diego, and then
 6 returned to San Diego on June 6, 2022. On June 7, 2022, ESPINOSA entered the US
 7 through the San Ysidro POE in the purple Edge. LPR data show the purple Edge driving
 8 eastbound along 1-40 near Albuquerque, NM later that day. On June 9, 2022,
 9 ESPINOSA sent a wire transfer to Mexico from Oklahoma City. On June 10, 2022, LPR
10 data show the purple Edge driving westbound along 1-40 in this middle of the night.
11 ESPINOSA entered the US via the San Ysidro POE in the purple Edge, on June 11, 2022,
12 again indicating that he drove from California to Oklahoma City and back in a matter of
13 days. This rapid travel back and forth between California and Oklahoma are consistent
14 with courier activity.
15                After ESPINOSA entered the US on June 11, 2022 via a pedestrian lane, he
16 flew from San Diego to Seattle. On June 13, 2022, ESPINOSA sent a wire transfer in the
17 amount to $990 from Kent, Washington to a recipient in Nayarit, Mexico, and then flew
18 back to San Diego. ESPINOSA crossed back into the US on June 14, 2022, and LPR
19 data show the purple Edge driving eastbound along I-40 near Albuquerque, NM. The
20 next day, LPR data show the purple Edge driving westbound along 1-40 near Amarillo,
21 TX and then near Albuquerque, NM early in the morning on June 16, 2022.
22                On June 21, 2022, ESPINOSA crossed into the US through the San Ysidro
23 POE in the purple Edge. LPR data shows the purple Edge near Los Angeles later that
24 day. On June 23, 2022, ESPINOSA sent a wire transfer in the amount of $1480.00 from
25 Kent, Washington to a recipient in Nayarit, Mexico. There are no flight records for
26 ESPINOSA around this time, likely indicating that he drove from California to
27 Washington. ESPINOSA conducted another wire transfer in the amount of $1500.00
28 from Kent, WA to a recipient in Nayarit, Mexico on June 25, 2022.
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                                                                      700 STEWART STREET, SUITE 5220
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                                                                        SEATTLE, WASHINGTON 98101
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 1                On July 6, 2022, ESPINOSA entered the U.S through the San Ysidro POE
 2 in the purple Edge. On the same date, LPR records indicate the purple Edge drove
 3 eastbound along 1-40 near the Arizona/New Mexico border. On July 8, 2022, LPR
 4 records show the purple Edge driving westbound along I-40 near Amarillo, TX, and then
 5 westbound along 1-40 near Holbrook, Arizona. On July 9, 2022, ESPINOSA drove
 6 through a Border Patrol check point in Winterhaven, CA, heading westbound from the
 7 direction of Arizona to California at an area in close proximity to the US/Mexico border.
 8                On July 20, 2022, ESPINOSA crossed back into the U.S via the San Ysdiro
 9 POE in the purple Edge. DHS databases revealed that later on July 20, 2022, ESPINOSA
10 drove the purple Edge eastbound through Border Patrol checkpoints in Imperial County,
11 California and Yuma, Arizona. LPR records show the purple Edge continuing eastbound
12 along I-40 through Holbrook, Arizona, Gallup, New Mexico and Amarillo, TX later on
13 July 20, 2022.
14                On July 21, 2022, ESPINOSA was stopped by a deputy with the Gray
15 County Sheriff's Office (GCSO) while travelling westbound on I-40 near Amarillo, TX
16 for violating the speed limit. Deputies with GCSO arrested ESPINOSA for violating
17 Texas Penal Code 34.02: Money Laundering >=$2,500<$30K, as detailed below.
18 July 22, 2022 Traffic Stop by Gray County (TX) Sheriff's Office.
19
20 on July 21, 2022. The paragraphs that follow include some of the information I learned
21 from my review of this report. This information serves as a summary of some of the
22 information contained in the report rather than a transcript of the report.
23                Per the report, on July 21, 2022, GCSO Deputy Blake Mangus observed the
24 purple Edge driving at a rate of speed higher than the posted speed limit and conducted a
25 traffic stop. Deputy Mangus identified the driver and sole occupant of the vehicle as
26
27                Per the report, Deputy Mangus made small talk with ESPINOSA while he
28 wrote a warning for the traffic offense and asked where ESPINOSA was traveling.
     AFFIDAVIT OF SA SAWYER - 13                                          UNITED STATES ATTORNEY
                                                                         700 STEWART STREET, SUITE 5220
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 1 ESPINOSA told the deputy he was travelling to Amarillo, TX from Oklahoma, where he
 2 had been visiting his grandfather for three days. Per the report, ESPINOSA told the
 3 deputy he was living in Phoenix, AZ. Per the report, the deputy asked ESPINOSA if
 4 there was anything illegal in the vehicle, to which ESPINOSA replied there was not.
 5 ESPINOSA granted the deputy permission to search the vehicle. Per the report, the
 6 deputy found several thousand dollars in one-hundred-dollar bill denominations inside of
 7                                                                            bag and located a
 8 grocery bag containing several thousand dollars rubber banded together in small bills.
 9                Per Deputy Mangus            on the way the money was hidden, banded,
10 and my prior experience with money laundering cases I believed that ESPINOSA was
11
12 Spanish. ESPINOSA stated that he understood his rights and would talk to the deputy
13 about the money located in his vehicle. Per the report, after the deputy confronted
14 ESPINOSA with his suspicions that ESPINOSA was engaged in criminal activity,
15                                           [sic] under ten t
16                Deputy Mangus then obtained LPR information and noted that the vehicle
17 had travelled eastbound through California and Arizona on July 20, 2022 (as is discussed
18 above), the date prior to the traffic stop. This is inconsistent with ESPIN
19 he had been in Oklahoma for three days. ESPINOSA told the deputy he thought he had
20 approximately six to seven thousand dollars. The deputy knew based on the search that
21 ESPINOSA in fact had more than this amount of currency. Based on ES
22 inconsistent statements and the currency discovered in his vehicle, the deputy transported
23
24 ESPINOSA changed his story and admitted that he had left Tijuana, Mexico, drove to
25 Phoenix, AZ to see some friends, and then drove 22 hours to Oklahoma, and arrived at
26 11:00 PM on July 20, 2022. ESPINOSA stated that that morning (July 21, 2022), he
27 woke up, spent time with family in Oklahoma, went to the river walk, and left to go to
28 Amarillo at 9:00 PM. Per Deputy Mangus
     AFFIDAVIT OF SA SAWYER - 14                                         UNITED STATES ATTORNEY
                                                                        700 STEWART STREET, SUITE 5220
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 1 travel itinerary, ESPINOSA's story had changed 3 times. I asked ESPINOSA why he
 2 would travel 22 hours straight just to turn around the following day and return and he said
 3
 4                Deputy Mangus
 5 presence, and ESPINOSA agreed and supplied the pin number. Deputy Mangus
 6                                                                          SPINOSA sent a
 7 photo of what appeared to be cocaine to this individual
 8 ESPINOSA sent the message (translated from Spanish by the deputy
 9                                                                                  Deputy
10 Mangus noted that this was likely a reference to crack cocaine, but I believe ESPINOSA
11                                                                 Deputy Mangus observed
12
13
14                                    Per the report, ESPINOSA told Deputy Mangus that
15
16 that he made $300 as a result of the transaction. ESPINOSA said the money had nothing
17 to do with his recent trip and said that he had been saving up money. Per the report,
18 ESPINOSA stated that he took $11,000.00 in cash with him because he prefers to pay in
19 cash. Per the report, ESPINOSA estimated he had $8,000 to $9,000 at this time. Deputy
20 Mangus later found the total to be $11,367.00. Deputy Mangus advised ESPINOSA that
21 he believed that the money and vehicle were being used in the commission of a crime,
22 namely Manufacture/Delivery of a Controlled Substance. The deputy placed ESPINOSA
23 under arrest for Money Laundering. The cellphones located in the vehicle were seized
24 pending a search warrant.
25                In September of 2022, I spoke to Deputy Mangus. He relayed to me the
26 information in the above report. He added that he noted that ESPINOSA was using
27 WhatsApp to send the above-                                     ESPINOSA was released
28 several days later on bond.
     AFFIDAVIT OF SA SAWYER - 15                                        UNITED STATES ATTORNEY
                                                                       700 STEWART STREET, SUITE 5220
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1 July 28, 2022 Border Patrol Observations
2                   On the evening of July 29, 2022,                                                   ,
3 DHS records indicate that ESPINOSA crossed through a Border Patrol checkpoint in
4 Campo, CA while driving westbound on Interstate 8 in the black Edge. Based on my
5 review of DHS databases, this vehicle was now registered to ESPINOSA under license
6 plate 9CDH033. Per DHS databases, Border Patrol agents conducted a secondary
7 inspection of the vehicle with the comments:
8                                                 [Tijuana, Mexico] and bought the car in Los
9                   Angeles about a month ago. Subject said he was coming from Mesa Arizona

10                  where he went to work in the fields for the day and was now going home to

11                                   alert. Tooling was found on the gas tank cover as well as new
                    bolts in the engine however, negative findings. Two microphones were found
12
                    within the vehicle along the drivers [sic] side. Subject was released without
13
14
15
16
     vehicle may have been used for transporting narcotics at one time based on the positive
17
     canine alert. Furthermore, the tooling on gas tank and new bolts on the engine may
18
     indicate that the vehicle was tampered with, a common practice used by drug traffickers
19
     to conceal narcotics or currency to avoid detection by law enforcement. Further, the
20
21
     training and experience I know that high-ranking members of DTOs often track couriers
22
     who transport narcotics or currency using a variety of methods including tracking their
23
     location on their phones, and through recording devices like the microphones found in the
24
     vehicle.
25
                    A few hours later, DHS border crossing records show ESPINOSA crossed
26
     outbound to Mexico via the San Ysidro POE in the black Edge. ESPINOSA remained in
27
     Mexico until October 8, 2022.
28
      AFFIDAVIT OF SA SAWYER - 16                                              UNITED STATES ATTORNEY
                                                                              700 STEWART STREET, SUITE 5220
      USAO 2021R00038
                                                                                SEATTLE, WASHINGTON 98101
                                                                                      (206) 553-7970
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 1 Surveillance of ESPINOSA on October 8, 2022, Confirmation of TT1.
 2                In my initial investigation of ESPINOSA, I identified a SnapChat account I
 3 believed                                 . I                               GEspinosa314
 4 from an undercover SnapChat account and observed that the profile under this username
 5 includes the v                                                                                   I
 6 have                                                                                I
 7 recognized                                                      license
 8 (WDLFMZPCE1FB).
 9                On October 6, 2022, I viewed
10                           .
11 confirmation of an American Airlines flight (operated by Alaska Airlines) from San
12 Diego to Seattle departing on Saturday, October 8, at 1:30 PM. ESPINOSA added the
13                                                                               per Google
14 Translate.
15                On October 6, 2022, I served American Airlines with a subpoena for flight
16 reservation information for ESPINOSA. On October 7, 2022, American Airlines
17 provided reservation records for ESPINOSA. Per these records on October 6, 20222
18 ESPINOSA booked American Airlines flight #7525 from San Diego, CA to Seattle, WA
19 departing San Diego at 1:30 PM (the same flight visible in the SnapChat story).
20 ESPINOSA listed TT1 as his phone number per these reservation records. On October 8,
21 2022, I queried this flight through a public search engine and determined that the flight
22 would be landing at SeaTac International Airport at gate N15 at approximately 4:20 PM.
23                On October 8, 2022, I was present at gate N15 at SeaTac International
24 Airport. At approximately 4:19 PM, I observed an individual I recognized to be
25 ESPINOSA disembark from flight 7525 at gate N15. I observed ESPINOSA enter the
26            troom, then exit, and enter the AirTrain to depart the airport. I noted that
27 ESPINOSA appeared to be talking on the phone as he walked.
28
     AFFIDAVIT OF SA SAWYER - 17                                          UNITED STATES ATTORNEY
                                                                         700 STEWART STREET, SUITE 5220
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 1                    At approximately 4:26 PM, as ESPINOSA was on the AirTrain, HSI SA
 2 Scott Fusco placed a phone call to TT1 from a blocked number. SA Fusco heard a male
 3
 4 AirTrain in the background. Simultaneously, I observed ESPINOSA answer his phone,
 5 which appeared to be a smartphone in a light blue case, and heard ESPINOSA say
 6            ?
 7                    Per AT&T records, the billing party for TT1 is Celia MOEDANO, and the
 8 user party is Gregory ESPINOSA.5 I queried WA DOL records and determined that
 9
10 lis
11 WDLFMZPCE1FB also lists his current address as the Covington address. Cesar
12                                                          ,
13 which also lists his current address as the Covington address. I believe MOEDANO and
14
15
16                    Based on these observations in tandem with subscriber records, financial
17 records, and flight reservation records, I believe ESPINOSA is the user of TT1.
18                    I continued to surveil ESPINOSA and observed him depart the AirTrain at
19 baggage claim. ESPINOSA was picked up by an unidentified man in a Toyota Tacoma.
20 Surveillance units observed the Tacoma drive to the Covington address.
21                    I drove past the residence several minutes after the Tacoma arrived and
22 observed an individual inside of the garage of the residence I recognized to be Cesar
23
24
25 / / /
26
27   5
       Both MOEDANO and ESPINOSA listed the address 12902 SE 312th St Apt E304, Auburn, WA 98092 in AT&T
     records. Per a commercially available database of public records, this address was associated with both ESPINOSA
28   and MOEDANO.
         AFFIDAVIT OF SA SAWYER - 18                                                      UNITED STATES ATTORNEY
                                                                                         700 STEWART STREET, SUITE 5220
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 1 Identification of TT2 and Cesar GASTELUM.
 2                In March of 2022, I learned from DEA SA Weber that agents had continued
 3 to investigate members of the Las Vegas DTO that had not been arrested in the February
 4 2021 takedowns. SA Weber told me that phone number 253-670-1940 (TT2) was in
 5 communication with Las Vegas DTO members.
 6                Per AT&T records, the                               TT2 is of the phone is
 7 Celia MOEDANO, the wife of Cesar GASTELUM. This is the same billing party listed
 8 for TT1. Based on my training and experience, I know it is common for narcotics
 9 traffickers to conceal their identities, and often register cars or phones under the names of
10 other people, including their spouses. I had previously identified TT2 because it was in
11 contact with both phone numbers associated with ESPINOSA (206-618-1571 and 253-
12 487-9587), the phones that had been dropped prior to February 2021. Per call detail
13 analysis, TT2 has been in regular contact with TT1                                            ,
14 since at least March 2022. Call detail records show that TT1 and TT2 have continued to
15 communicate regularly.
16                SA Weber stated that he believed the user of TT2 was Cesar GASTELUM.
17 Per SA Weber, during the spring of 2022, GASTELUM was observed on at least two
18 occasions in the Las Vegas area meeting with members of the Las Vegas DTO. SA
19 Weber told me that                                               GASTELUM transported
20 narcotics to the Las Vegas area and picked up bulk currency from Las Vegas DTO
21 members. DEA Las Vegas arrested the main targets in this investigation; they have no
22 new information regarding GASTELUM since these arrests took place.
23                In September 2022, I reviewed immigration crossing records and flight
24 records and learned the following: On August 7, 2022, GASTELUM booked a flight
25 from Seattle, WA to Mazatlan, MX that departed on August 12, 2022. GASTELUM
26 used the phone number 253-670-1940, TT2, in his reservation request. GASTELUM
27 was on board this flight, which landed in Mazatlan at approximately 12:21 PM on August
28 12, 2022. Per DHS databases, GASTELUM entered the US via the Otay Mesa POE in a
     AFFIDAVIT OF SA SAWYER - 19                                          UNITED STATES ATTORNEY
                                                                         700 STEWART STREET, SUITE 5220
     USAO 2021R00038
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 1 pedestrian lane the following day, August 13, 2022 at approximately 5:00 PM. The
 2 abbreviated period of time GASTELUM spent in Mexico is consistent with drug courier
 3 activity and inconsistent with normal tourist or travel activity.
 4                I spoke to SA Weber again in October 2022, and he informed me that
 5 investigators had received information that the Las Vegas DTO was starting to move
 6 large quantities of methamphetamine in the Oklahoma area. This is consistent with links
 7 between ESPINOSA and the Oklahoma City DTO, discussed above.
 8                Phone toll analysis indicates that TT2 has continued to communicate with a
 9 Las Vegas number that overlaps with the DEA Las Vegas case. TT1 and TT2 have also
10 had recent contact with numbers with Mexican area codes that are connected to the same
11 case.
12 Conclusion.
13                Based on the foregoing information, I believe that Gregory ESPINOSA and
14 Cesar GASTELUM are involved in trafficking narcotics and laundering drug proceeds
15 for a large scale DTO with connections in Mexico, Washington State, Oklahoma, and
16 Nevada. I believe that ESPINOSA uses Target Telephone 1 and that GASTELUM uses
17 Target Telephone 2 to facilitate the trafficking of narcotics.
18                           Knowledge Regarding Cellular Phones
19                Based on my training and experience, I know each cellular device has one
20 or more unique identifiers embedded inside it. Depending on the cellular network and
21 the device, the embedded unique identifiers for a cellular device could take several
22 different fo
23
24
25
26                                                                               -- as
27 transmitted from a cellular device to a cellular antenna or tower -- can be recorded by
28
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                                                                       700 STEWART STREET, SUITE 5220
     USAO 2021R00038
                                                                         SEATTLE, WASHINGTON 98101
                                                                               (206) 553-7970
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 1 pen-traps and indicate the identity of the cellular device making the communication
 2
 3                Based on my training and experience, I know that when a cell phone
 4 connects to a cellular antenna or tower, it reveals its embedded unique identifiers to the
 5 cellular antenna or tower, and the cellular antenna or tower records those identifiers as a
 6 matter of course. The unique identifiers -- as transmitted from a cell phone to a cellular
 7 antenna or tower -- are like the telephone number of an incoming call. They can be
 8 recorded by pen-trap devices and indicate the identity of the cell phone device making the
 9
10 incoming and outgoing telephone numbers is generated when a cell phone is used to
11 make or receive calls, or to send or receive text messages (which may include
12 photographs, videos, and other data). These telephone numbers can be recorded by pen-
13 trap devices and then used to identify the parties to a communication without revealing
14
15                Based my training and experience, I know that a cell phone can also be
16 used to exchange text messages with email accounts. The email addresses associated
17 with those text messages can be recorded by pen-trap devices and then used to identify
18
19                Based on my training and experience, I know that cellular phones can
20 connect to the internet via a cellular network. When connecting through a cellular
21 network, internet communications sent and received by the cellular phone each contain
22 the same unique identifier that identifies cellular voice communications, such as an ESN,
23 MEIN, MIN, SIM, IMSI, MSISDN, or IMEI. Internet communications from a cellular
24 phone also contain the IP address associated with that cellular phone at the time of the
25 communication. Each of these unique identifiers can be used to identify parties to a
26
27                In my training and experience, I have learned that AT&T is a wireless
28 company that provides cellular telephone access to the general public. I also know that
     AFFIDAVIT OF SA SAWYER - 21                                         UNITED STATES ATTORNEY
                                                                        700 STEWART STREET, SUITE 5220
     USAO 2021R00038
                                                                          SEATTLE, WASHINGTON 98101
                                                                                (206) 553-7970
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 1 certain providers of cellular telephone service have technical capabilities that allow them
 2 to collect and generate information about the locations of the cellular telephones to which
 3 they provide service, including E-911 Phase II data (also known as GPS data or latitude-
 4 longitude data) and cell-
 5 tower/sector records). E-911 Phase II data provides relatively precise location
 6 information about the cellular telephone itself, either via GPS tracking technology built
 7
 8                l towers. Cell-site data identifies the cell towers (i.e., antenna towers
 9 covering specific geographic areas) that received a radio signal from the cellular
10
11 telephone connected. These towers are often a half-mile or more apart, even in urban
12 areas, and can be 10 or more miles apart in rural areas. Furthermore, the tower closest to
13 a wireless device does not necessarily serve every call made to or from that device.
14 Accordingly, cell-site data is typically less precise that E-911 Phase II data.
15                Based on my training and experience, I know that AT&T can collect E-911
16 Phase II data about the location of the Target Cell Phone, including by initiating a signal
17 to determine the location of the Target Cell Phone on              network or with such
18 other reference points as may be reasonably available.
19                When using a cellular connection to receive or transmit data, a cellular
20 phone typically utilizes a cell tower to make telephone calls, send or receive text
21 messages, send or receive emails, surf the internet, carry out application initiated data
22 transfers, among other things.
23                Based on my training and experience, I know that AT&T can collect cell-
24 site data about the Target Cell Phone. Based on my training and experience, I know that
25 for each communication (including data connections) a cellular device makes, its wireless
26 service provider can typically determine: (1) the date and time of the communication; (2)
27 the telephone numbers involved, if any; (3) the cell tower to which the customer
28 connected at the beginning of the communication; (4) the cell tower to which the
     AFFIDAVIT OF SA SAWYER - 22                                           UNITED STATES ATTORNEY
                                                                          700 STEWART STREET, SUITE 5220
     USAO 2021R00038
                                                                            SEATTLE, WASHINGTON 98101
                                                                                  (206) 553-7970
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 1 customer connected at the end of the communication; and (5) the duration of the
 2 communication. I also know that wireless providers such as AT&T typically collect and
 3 retain cell-site data pertaining to cellular devices to which they provide service in their
 4 normal course of business in order to use this information for various business-related
 5 purposes.
 6                Different service providers use different systems, applications, and reports
 7 to collect or analyze cell site data. These systems, applications, and reports are referred
 8 to by a variety of names including, but not limited to real-
 9 Periodic Location Up
10
11 Timing Advance, and TruCall. RTT data, for example, estimates the approximate
12 distance of the cellular device from a cellular tower based upon the speed with which
13 signals travel between the device and the tower. This information can be used to estimate
14 an approximate location range that is more precise than typical cell-site data.
15                Based on my training and experience, I know that wireless providers such
16 as AT&T typically collect and retain information about their subscribers in their normal
17 course of business. This information can include basic personal information about the
18 subscriber, such as name and address, and the method(s) of payment (such as credit card
19 account number) provided by the subscriber to pay for wireless communication service. I
20 also know that wireless providers such as AT&T typically collect and retain information
21                                        reless service, such as records about calls or other
22 communications sent or received by a particular device and other transactional records, in
23 their normal course of business. In my training and experience, this information may
24 constitute evidence of the crimes under investigation because the information can be used
25                                                                                                        -
26 conspirators and/or victims.
27                Modern cell phones allow users to switch their telephone numbers, use
28 multiple telephone numbers on a single device, and transfer their telephone number to a
     AFFIDAVIT OF SA SAWYER - 23                                          UNITED STATES ATTORNEY
                                                                         700 STEWART STREET, SUITE 5220
     USAO 2021R00038
                                                                           SEATTLE, WASHINGTON 98101
                                                                                 (206) 553-7970
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 1 different cell phone. These changes can be made with the assistance of the wireless
 2                                                                                              r
 3
 4 Target Cell Phone, Attachment A specifies that the property to be searched includes:
 5 (i) any instrument to which the listed target telephone number was assigned within the
 6 last 30 days, and that now has been assigned a changed telephone number, (ii) any
 7 changed telephone number assigned to an instrument now bearing the same unique
 8 identifying number (such as an IMSI, ESN, MSID, or IMEI) as the telephone number
 9 listed above, or that was bearing the same unique identifying number as the telephone
10 number listed above, at any point within the last 30 days, (iii) any changed unique
11 identifying number subsequently assigned to the same telephone number, or (iv) any
12 additional changed telephone number and/or unique identifying number, whether the
13 changes occur consecutively or simultaneously, listed to the same subscriber and wireless
14 telephone account number as the telephone numbers listed above, within the period of
15 disclosure authorized by this warrant.
16                          Knowledge Regarding Drug Trafficking
17                Based on my training and experience, including experience obtained
18 through my participation in this and other investigations involving the distribution of
19 controlled substances, including those targeting long-term conspiracies responsible for
20 the distribution of controlled substances, and based upon my consultation with other
21 experienced law enforcement agents and officers, I know that:
22         a.     Those involved in the distribution of illicit drugs often travel by car, both
23 domestically and to and/or within foreign countries, in connection with their illegal
24 activities in order to meet with coconspirators, conduct drug transactions, or to transport
25 drugs or, cash drug proceeds.
26         b.     Illicit drugs are frequently transported into the United States and between
27 cities within the United States in bulk, high-purity form, and drug traffickers attempt to
28 mask the distinct odors of particular drugs during such transport through the use of heat
     AFFIDAVIT OF SA SAWYER - 24                                          UNITED STATES ATTORNEY
                                                                         700 STEWART STREET, SUITE 5220
     USAO 2021R00038
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 1 sealing and/or canning devices and/or aromatic substances such as laundry soap, dryer
 2 sheets, air fresheners, or axle grease. Likewise, money is similarly transported in bulk. It
 3 is common for drug traffickers to maintain hidden compartments within passenger
 4 vehicles, items altered for the purpose of hiding or concealing drugs, and items purchased
 5 and converted for the use of storing their drugs.
 6         c.     Those involved in the distribution of illicit drugs often use money
 7 remittance businesses to assist in moving and distributing the money earned from their
 8 drug trafficking activities. By using these businesses to wire funds to other parts of the
 9 United States and beyond, the drug traffickers are attempting to hide this money and its
10 source from law enforcement.
11         d.     Drug traffickers frequently make use of cellular telephones to arrange their
12 drug transactions. These telephones are frequently pre-paid cellular telephones. Drug
13 traffickers frequently provide little or no identifying information to the phone company,
14 and oftentimes the information provided is false. Drug traffickers often discontinue the
15 use of these cellular telephones on a frequent basis in order to thwart law enforcement
16 efforts at detection.
17                In my experience, the geographic location information requested in this
18 Affidavit is useful in drug trafficking and money laundering investigations as the
19 information can be used to: (1) aid surveillance during suspected drug deals; (2) help
20 locate and identify target residences, DTO stash houses, and other storage locations; (3)
21 help identify where known and unknown conspirators live and the vehicles they drive; (4)
22 help identify sources of supply, customers, and other unknown conspirators who assist in
23 the distribution of narcotics and/or help launder the cash drug proceeds; (5) help
24 understand geographic breadth of the DTO how and where conspiracies operate; (6) help
25 identify locations of money transfer businesses used by members of the conspiracy to
26 launder cash drug proceeds or through which money is exchanged between co-
27 conspirators; and (7) help identify transportation sources used by the conspirators.
28
     AFFIDAVIT OF SA SAWYER - 25                                         UNITED STATES ATTORNEY
                                                                        700 STEWART STREET, SUITE 5220
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                                                                                (206) 553-7970
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 1                 Based upon my training and experience, one way to identify co-
 2 conspirators is to covertly follow suspect vehicles with electronic tracking devices known
 3 to be utilized in furtherance of drug trafficking and money laundering offenses, and then
 4 conduct an investigation using those names and addresses. Based upon the location
 5 information, I would then direct other investigators to conduct surveillance at the
 6 addresses and determine if criminal activity was occurring there, which in turn could lead
 7 to potential names of conspirators and potential narcotics storage locations used by the
 8 DTO. Obtaining this location information from target vehicles, as well as target phones,
 9 is critical to accurately identifying such co-conspirators and locations, as the residences
10 of the targets are often times in either remote, rural areas, or small residential
11 neighborhoods, which make close, physical surveillance by agents almost impossible to
12 accomplish without being discovered by the suspects.
13                               AUTHORIZATION REQUEST
14                 Based on the foregoing, I request that the Court issue the proposed search
15 warrants and pen-trap order, pursuant to Federal Rule of Criminal Procedure 41, 18
16 U.S.C.        § 2703(c), and 18 U.S.C. § 3123.
17                 I further request, pursuant to 18 U.S.C. § 3103a(b) and Federal Rule of
18 Criminal Procedure 4l(f)(3), that the Court authorize the officer executing the warrants to
19 delay notice to the subscriber or user of TT1 and TT2 until 90 days after the collection
20 authorized by the warrants has been completed. There is reasonable cause to believe that
21 providing immediate notification of the warrants may have an adverse result, as defined
22 in 18 U.S.C. § 2705. Providing immediate notice to the subscriber or user of TT1 and
23 TT2 would seriously jeopardize the ongoing investigation, as such a disclosure would
24 give that person an opportunity to destroy evidence, change patterns of behavior, notify
25 confederates, and flee from prosecution. See 18 U.S.C. § 3103a(b)(l). As further
26 specified in Attachment B, which is incorporated into the warrant, the proposed search
27 warrants do not authorize the seizure of any tangible property. See 18 U.S.C. §
28 3103a(b)(2). Moreover, to the extent that the warrants authorize the seizure of any wire
     AFFIDAVIT OF SA SAWYER - 26                                           UNITED STATES ATTORNEY
                                                                          700 STEWART STREET, SUITE 5220
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 1 or electronic communication (as defined in 18 U.S.C. § 2510) or any stored wire or
 2 electronic information, there is reasonable necessity for the seizure for the reasons set
 3 forth above. See 18 U.S.C. § 3103a(b)(2).
 4                 I further request that the Court direct AT&T to disclose to the government
 5 any information described in Attachment B that is within the possession, custody, or
 6 control of AT&T. I also request that the Court direct AT&T to furnish the government all
 7 information, facilities, and technical assistance necessary to accomplish the collection of
 8 the information described in Attachment B unobtrusively and with a minimum of
 9 interference with            services, including by initiating a signal to determine the
10 location of TT1 and TT2 on               network or with such other reference points as may
11 be reasonably available, and at such intervals and times directed by the government. The
12 agency shall reasonably compensate AT&T for reasonable expenses incurred in
13 furnishing such facilities or assistance.
14                 Pursuant to 18 U.S.C. § 2703(g), the government will execute these
15 warrants by serving the warrants on AT&T. Because the warrants will be served on
16 AT&T, who will then compile the requested records and data, reasonable cause exists to
17 permit the execution of the requested warrants at any time in the day or night. I therefore
18 request that the Court authorize execution of the warrants at any time of day or night,
19 owing to the potential need to locate TT1 and TT2 outside of daytime hours.
20                  REQUEST FOR SEALING AND DELAYED NOTICE
21 To avoid seriously jeopardizing this ongoing, multi-state investigation into this DTO and
22
23 evidence prior to indictment, I request that the Court order the application, this Affidavit,
24 the prior Affidavits, the tracking warrants, and the returns, be sealed until further order of
25 the Court. These documents discuss an ongoing criminal investigation that is neither
26 public nor known to the targets of the investigation. Based upon my knowledge, training,
27 and experience, it is my belief that making these documents publicly available and
28 providing immediate notification of the execution of these warrants will have an adverse
     AFFIDAVIT OF SA SAWYER - 27                                          UNITED STATES ATTORNEY
                                                                         700 STEWART STREET, SUITE 5220
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                                                                                 (206) 553-7970
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 1                                             EXHIBIT 1

 2
 3                                          DECLARATION

 4          I, Vincent T. Lombardi, declare as follows:

 5          1.        I am a duly appointed Assistant United States Attorney for the Western

 6 District of Washington, and I have primary responsibility for representing the interests of
 7 the United States herein.
 8          2.        I make this declaration in support of an application for a search warrant

 9 pursuant to Federal Rule of Criminal Procedure 41 and 18 U.S.C. § 2703(c)(1)(A) with
10 an integrated pen-trap order pursuant to 18 U.S.C. §§ 3122 and 3123.
11          3.        Pursuant to 18 U.S.C. § 3122(b), I certify that the Homeland Security

12 Investigations is the law enforcement agency conducting the investigation in this matter
13 and that the information likely to be obtained from the requested warrant is relevant to an
14 ongoing criminal investigation being conducted by that agency.
15          Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

16 Application is made on the basis of information officially furnished, and on that basis I
17 verily believe such information to be true.
18          Executed this 18th day of October, 2022.

19
20
21                                                s/ Vincent T. Lombardi
                                                  VINCENT T. LOMBARDI
22
                                                  Assistant United States Attorney
23
24
25
26
27
     Exhibit 1 - Declaration - 1                                        UNITED STATES ATTORNEY
     USAO # 2021R00038                                                 700 STEWART STREET, SUITE 5220
                                                                         SEATTLE, WASHINGTON 98101
                                                                               (206) 553-7970
